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 7                      UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
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10
     JOE BASULTO and MINNIE                      ) Case No. 5:15-cv-00313-CJC-SP
11
     BASULTO,                                    )
12                                               ) ORDER
13
     Plaintiff,                                  )
                                                 )
14          vs.                                  )
15                                               )
     MIDLAND CREDIT                              )
16   MANAGEMENT,
                                                 )
17   Defendant.                                  )
18

19          IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
20   to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
21   41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
22   their own costs and attorneys’ fees.
23                                          Dated this 8th day of July, 2015.
24

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                                             _______________________________
26
                                             The Honorable Cormac J. Carney
27

28




                                        Order to Dismiss - 1
